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                       Law Offices of Bruce W. Minsky, P.C.                             DOC#:_ _ _ __
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                                              112 Brick Church Road
                                       New Hempstead, New York 10977
                                                                                                 -----
                                   Telephone: (646) 234-7006; {212) 956-3123
                             Facsimile: {702) 973-6607 (Not for Litigation Purposes)
                                         E-mail: bwminsky@gmail.com                    MEMO ENDORSED
Bruce W . Minsky, Esq.
Member of the California, Connecticut and New York Bars


                                                     May 3, 2022

VIAECF

Hon. Katharine H. Parker, U.S.M.J.
United States District Couit, Southern District of New York
500 Pearl Street
New York, New York 10007

        Re:      Santana v. NYC Motorcars of Freepo11 Corp., et. al.
                 Case No.: I :21-cv-10520 ALC-KHP

Dear Judge Parker:

       As a note of introduction, this office is counsel to the Defendant Fawad Awan
("Defendant").

       This correspondence shall serve as a request to cancel the Initial Pretrial Conference
scheduled for May 4, 2022 at 11 :00 am ("Conference"). The reason for the instant request is that
the Plaintiff Eric Santana ("Plaintiff') and Defendant have executed/filed a Stipulation of
Voluntary Dismissal [Doc. 26] with the Plaintiffs action voluntarily dismissed against the
Defendant pursuant to FRCP 4l(a)(l)(A)(ii). Likewise the Plaintiff and Defendant have also
executed/filed a Stipulation of Voluntary Dismissal [Doc. 27] in regard to Defendant's cross-
claims against the co-defendant NYC Motorcars Corp. ("NYCM") pursuant to FRCP 4 1(c)(l).
The Plaintiff is continuing the action against NYCM, who has not yet appeared, with the Plaintiff
having recently filed a Motion for a Default Judgment [Doc. 24], which motion is pending.

        Plaintiffs counsel has assented to this request and the contents herein. This is the first
request for either party in regard to the scheduling of the Conference.

        We thank the Court for its time and attention to this matter.

                                            Very truly yours,

                                           /bwm/

                                            Bruce W. Minsky
